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                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, CENTRAL DIVISION

 UNITED STATES OF AMERICA
                                              DEFENDANT’S SENTENCING
                PLAINTIFF,                    MEMORANDUM

                VS.                           CASE NO: 1:21-cr-00073 RJS-DBP

 DANA JEAN STEELE,                            JUDGE ROBERT J. SHELBY
                DEFENDANT.


        The Defendant in this matter, DANA JEAN STEELE (“Dana”), by

 and    through    her   attorney    of   record,   Bel-Ami   J.     de   Montreux,

 respectfully submits this memorandum in support of a variance from

 the United States Sentencing Guidelines (“Guidelines”) pursuant to

 18 U.S.C. § 3553.

        Dana has successfully completed three years of supervised

 release. She has positively restructured her lifestyle by focusing

 on her sobriety and supporting others with addiction problems.

 Dana    also     suffers   from    severe     physical   ailments    that   cause



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 debilitating pain in her hands and feet. Her doctor is closely

 monitoring her medical condition, which requires routine follow-

 up appointments and injectable Amjevita (to treat her Rheumatoid

 Arthritis) every two weeks.1


           THE FACTORS TO BE CONSIDERED IN IMPOSING SENTENCE


      In United States v. Booker, 125 S. Ct. 738 (2005), the Supreme

 Court declared the Sentencing Guidelines to be only an advisory

 mechanism. In sentencing an individual, the sentencing court “must

 make an individualized assessment based on the facts presented.”

 Gall v. United States, 552 U.S. 38, 50 (2007). Therefore, a

 sentence must be “sufficient, but not greater than necessary,” to

 achieve the statutory purposes of punishment, as required by 18

 U.S.C. § 3553(a).

      Next, the court must “determine whether a sentence within the

 [advisory] range …serves the factors outlined in § 3553(a) and, if

 not, select a sentence [within statutory limits] that does serve

 those factors.” United States v. Moreland, 437 F.3d 424 (4th Cir.

 2006) (quoting United States v. Green, 436 F.3d 449, 455 (4th Cir.

 2006)).

      The inquiry under Section 3553(a) is broad-ranging. As the

 Fourth Circuit has observed, there is “essentially no limit on the


 1
  .
  Dana’s Rheumatology Office Clinic Notes – medical and medication
 record. Exhibit A. Filed Sealed.

                                      2
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 number of potential factors that may warrant … a variance.”           United

 States v. Davenport, 445 F.3d 366, 371 (4th Cir. 2006). “Generally,

 if the reasons justifying the variance are tied to § 3553(a) and

 are plausible, the sentence will be deemed reasonable.”


               A VARIANCE IS JUSTIFIED UNDER 18 U.S.C. § 3553


       In this case, a variance is justified under Booker, Gall, and

 18 § 3553 U.S.C. Ultimately, the Court must “consider all of the

 §   3553(a)    factors”   to   decide   if   “they   support   the   sentence

 requested by a party.”

       The court should impose a sentence sufficient, but not greater

 than necessary, to comply with the purposes set forth in paragraph

 (2) of this subsection. The court, in determining a particular

 sentence to be imposed, shall consider:

       (1) the nature and circumstances of the offense and the
          history and characteristics of the defendant;

       (2) the need for the sentence imposed—
            (A) to reflect the seriousness of the offense, to promote
            respect for the law, and to provide just punishment for
            the offense;
            (B) to afford adequate deterrence from criminal conduct;
            (C) to protect the public from further crimes of the
       defendant; and
            (D) to provide the defendant with needed educational or
            vocational training, medical care, or other correctional
            treatment in the most effective manner;

       (3) the kinds of sentences available; and

       (4) the kind of sentence and sentencing range established by
       the guidelines. See 18 U.S.C.
       § 3553(a) (1)-(4) (quotations omitted).



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     A. The Nature and Circumstances of the Offense.

         Dana has accepted responsibility for her role in distributing

 methamphetamine with Vanderwoude (co-defendant). While Dana is

 legally responsible        for   her    actions,     the    facts   show    she was

 manipulated by Vanderwoude, who had played a “puppet master” role

 throughout their sporadic seventeen-year relationship. Dana was

 indeed vulnerable, having experienced a lifetime of setbacks and

 trauma,    including      physical     and    psychological      abuse.     She    was

 addicted to substances that altered her judgment and caused her to

 believe     she   could    not   survive       without      them.   She    made    an

 excruciatingly     stupid     mistake        when   she    participated     in     the

 distribution to maintain what she felt was her lifeline.

         At the time of her arrest, Dana felt a sense of relief. She

 knew in her heart that this would be an opportunity to separate

 herself    from   her     addiction    and,     most      importantly,     the    hold

 Vanderwoude had over her.2

         These facts differentiate Dana from the prototypical drug

 dealer, and they should be given weight in the § 3553 analysis. On

 the spectrum of culpability of drug offenders, Dana is on the

 lesser end; her punishment, therefore, should be applied with like

 proportion.




 2
     Information obtained from mitigation expert Marissa Sandall.

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     B. Dana’s Background and Current Medical Condition Justify a
        Variance.3

        Like many people who struggle with drug addiction, it should

 come as no surprise that Dana grew up in a home fraught with

 alcoholism, neglect, and anger. Her father worked several jobs to

 allow her mother to stay home with Dana and her younger brother.

 When her father was not working, he was drinking. He drank heavily

 to    cope   with   the   demands   of   providing     for   his   family.   His

 alcoholism became too much for his wife to tolerate. The couple

 argued about his drinking and lack of parenting daily.

        Dana’s   mother    was   also     emotionally    separated    from    her

 children. She did not support or encourage Dana to attend school

 and get an education. Keeping tabs on her children and knowing

 their whereabouts and activities became less important to her as

 Dana got older. Dana said going to school felt more like an option

 than a responsibility. Dana went to school to socialize and be

 with her friends. She did anything possible to avoid being at home

 when her mother was angry with her father.

        Dana remembers one occasion witnessing her mother chase her

 father through the house with a kitchen knife. Dana and her brother

 were often caught in the middle of these vicious arguments, and

 both were expected to choose a side in their parents’ rivalry.

        As a young teenager, Dana chose her father’s side because her



 3
     Information obtained from mitigation expert Marissa Sandall.

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 relationship with her mother had deteriorated due to her harsh

 discipline and neglect. Dana’s father was probably not the better

 choice because of his alcoholism. Dana was only twelve years old

 the first time her father gave her alcohol. She quickly realized

 that being intoxicated took away her worries, at least for the

 time being. She started stealing liquor from her parents regularly.

      During high school, Dana skipped school and drove around with

 friends or hung out in the parking lot to drink alcohol and smoke

 marijuana. She spent the weekends at “kegger parties,” where she

 drank   beer,   smoked   marijuana,       and   experimented   with   LSD   and

 psilocybin mushrooms.

 Dana’s daily drug abuse continued until she discovered she was

 pregnant when she was twenty-two. The pregnancy became her priority

 – she immediately quit drinking and taking drugs. She was sober

 for the first time in nearly ten years.

      Life improved for Dana. She got married, settled down, and

 began adjusting to her responsibilities as a wife and a mother.

 She and her husband lived with her parents. They helped care for

 her newborn daughter. A few months later, Dana worked at a bar to

 contribute to her young family’s finances. This was a detrimental

 mistake.

      Within weeks, Dana was drinking again. She drank while she

 worked and continued drinking after her shift ended, partying with

 co-workers and patrons. She was introduced to cocaine. It became



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 her drug of choice. Her lifestyle consisted of working, drinking,

 and getting high. There was little time to focus on her daughter

 or her marriage. She divorced her husband. Her parents were also

 getting divorced, and Dana needed a place to live. She wanted a

 place of her own to raise her daughter. Dana and her baby moved

 into assisted housing a few months later.

      Unfortunately, Dana struggled to manage life on her own. She

 had gained a significant amount of weight during her pregnancy.

 She felt fat, unattractive, and depressed. In a desperate attempt

 to lose the “baby weight,” she quit using cocaine and switched to

 meth. Dana lost 100 pounds in less than six months. “I thought I

 had found the easiest weight loss program ever, but what I really

 found was a new addiction,” she explained.

      From that time forward, using meth trumped everything in

 Dana’s life. She quit her job. She relied on her parents to raise

 her daughter. Her drug use began to dovetail with distribution.

 Dana got pregnant by an abusive boyfriend, but this time, she did

 not quit using meth.

      When her son was born with Down’s Syndrome, Dana felt a

 horrendous amount of guilt. Her depression and addiction worsened,

 and she knew in her heart that she was not capable of raising her

 son. Shortly after his birth, Dana and the child’s father were

 arrested and sent to prison. Dana’s mother was also unable to care

 for the baby because she was hospitalized with terminal cancer.



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 Ultimately, Dana made a selfless decision and relinquished her

 parental rights, allowing him to be adopted.

       Dana was emotionally and physically destroyed. She spent the

 next decade using and selling meth, in and out of prison, and

 barely surviving abusive and dangerous relationships. Her arrest

 on these charges in 2021 was her saving grace.


 A. Variance Sentence Will Adequately Reflect The Seriousness of
 the Offense, Promote Respect for the Law, Provide Just Punishment
 for the Offense, Protect the Public, and Deter Future Conduct.

       The present case obviously represents serious criminal acts.

 Dana’s illegal distribution has critically damaged her life and

 the   lives   of   her   children   and   grandchildren.    It   is   worth

 considering that Dana cooperated with law enforcement before and

 after her arrest. As the PSR indicates, she accepted responsibility

 for her criminal actions on December 18, 2023, under a written

 plea agreement with the government. Dana pled guilty to one count

 of Possession of Methamphetamine with Intent to Distribute, a

 violation of 21 U.S.C. § 841(b)(1)(C).

       Dana’s family members, co-workers, and fellow members of

 Alcoholics Anonymous have stressed that Dana has their full support

 in rectifying this situation and moving forward with a life of

 sobriety.4

       An   individual’s    post-offense    conduct    can   significantly


 4
   Support letters from Dana’s daughter, neighbor, associates, and
 employer. Exhibit B.

                                      8
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 justify   a   substantial    variance       from   the   applicable      guideline

 range. Evidence of positive post-offense conduct strongly supports

 the   conclusion   that     imprisonment      is   unnecessary      to    deter   a

 defendant “from engaging in future criminal conduct or to protect

 the public from his future criminal act.” Pepper states that post-

 sentencing    rehabilitation     may    be    highly     relevant   to     several

 sentencing factors, such as the “history and characteristics of

 the defendant” and the “need for the sentence imposed … to afford

 adequate deterrence to criminal conduct [and] protect the public

 from further crimes of the defendant”. Dana’s post-offense conduct

 demonstrates that she is not a danger to society and is not likely

 to reoffend. As such, a lengthy prison sentence is unnecessary.

       After her arrest on these charges, Dana was placed on pretrial

 release in June 2021. She, like many probationers, had a minor

 setback the following month. The PSR states, in part:


            On August 16, 2021, the defendant had contact with the
       Salt Lake City Police Officers. The defendant admitted to
       being at her friend’s home and consuming alcohol after
       curfew. The defendant was admonished and asked to inform her
       treatment provider of the incident. The defendant stated she
       would begin attending Alcoholics and Narcotics Anonymous.

 PSR ¶ 8. Dana immediately joined an AA group at a church near her

 home. She attended meetings daily for over a year; on her most

 difficult days, she attended two or three meetings. As she became

 more confident in herself, her sobriety became easier. Since

 October 29, 2021, pretrial services records indicate the defendant


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 has complied with all court-ordered release conditions. PSR ¶ 10.

       Unlike many who have been granted the privilege of release,

 Dana has taken full advantage of her freedom, remaining employed

 and living a law-abiding life for the past three years. It is

 important to note that Dana has remained sober for nearly thirty-

 five months. During which, she endured the death of her beloved

 father and the sudden death of her brother. Despite the agonizing

 pain she experienced, Dana remained sober, leaving her the only

 member of her family to survive addiction.5

       Through    her   experience     with   Alcoholics     and    Narcotics

 Anonymous, Dana has enjoyed the opportunity to support and serve

 others who also struggle with addiction. She attends meetings

 regularly and more frequently when her health allows it.


                                   ARGUMENT

       DANA’S CONDUCT DURING THE PAST THREE YEARS ON PRETRIAL RELEASE
       AND HER MEDICAL CONDITIONS MERIT A SENTENCE OF SUPERVISED
       RELEASE.


       In August 2013, Attorney General Eric Holder lamented that

 “too many Americans go to too many prisons for far too long and

 for no truly good law enforcement reasons,” and cautioned that “we

 cannot simply prosecute or incarcerate our way to becoming a safer

 country.”6 In a similar vein, the Sentencing Reform Act itself


 5
   Information obtained from mitigation expert Marissa Sandall.
 6
   http://www.theguardian.com/world/2013/aug/12/eric-holder-smart-crime-reform-
 us-prisons


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 suggests that the goals of sentencing are not always best served

 by incarceration. Instead, Congress felt “it may very often be …

 that probation under conditions designed to fit the particular

 situation will adequately satisfy any appropriate deterrent or

 punitive purpose.” United States v. Edwards, 595 F.3d 1004, 1016

 (9th Cir. 2010) (internal citation omitted).Here, there is no good

 law    enforcement      reason    to   place    Dana   in    federal    prison. Her

 laudable behavior while on pretrial release demonstrates that

 deterrence can, and did, begin during the pretrial stage and can

 continue through supervised release.

         The third factor in Section 3553(a)—the kinds of sentences

 available—encourages the Court to consider the various sentencing

 options      available.    With    a   variance,       the   Court     may    craft   a

 reasonable      sentence,    including         supervised     release,       community

 service, or home or community confinement, as the Court deems

 appropriate based on the circumstances and mitigating factors

 described herein.

         A related provision contained in 18 U.S.C. § 3582 requires

 courts to “recognize that imprisonment is not an appropriate means

 of promoting correction and rehabilitation.”7 Further, under 18

 U.S.C. § 3661, “no limitation shall be placed on the information

 concerning the background, character, and conduct of a [defendant]

 which a court … may receive and consider for the purpose of


 7
     (emphasis added).


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 imposing an appropriate sentence.”8

         As this Court crafts a reasonable sentence, Dana asks that

 the punishment be tailored to “fit the offender and not merely the

 crime.” Pepper v. United States, 562 U.S. 476, 487 (2011). A

 sentence outside prison walls would be “just punishment,” act as

 “deterrence,”        “reflect      the   seriousness   of    the   offense,”   and

 “promote respect for the law.” 18 U.S.C. § 3553(a).

         The severity of being placed on supervision, like probation,

 is    very   real.      It   is   punishment.   In   Gall,   the   Supreme   Court

 recognized that:

         “… custodial sentences are qualitatively more severe
         than probationary sentences of equivalent terms.
         Offenders on probation are nonetheless subject to
         several   standard  conditions that   subsequentially
         restrict their liberty.”

 Gall v. United States, 552 U.S. 38, 48 (2007).


 A.   Dana’s Post Indictment Rehabilitation And Self-Improvement
 Are Nothing Short Of Extraordinary.


         Since her arrest, despite all the challenges and defeats,

 despite her poor health and fears, Dana has been engaged in an

 impressive and, most importantly resolute and fruitful, effort at

 rehabilitation. She has maintained sobriety and abided by all of

 her conditions of release for the past three years. She has shown

 her true character, became a contributing member of society, and

 8
     (emphasis added).


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 demonstrated clearly that she does not present a future risk to

 society. She will continue supporting herself through gainful

 employment and, most importantly, will continue participating in

 Alcoholics and Narcotics Anonymous and providing emotional and

 practical support to others. Dana’s willingness to share the

 haunting experiences she has suffered due to her addiction will,

 indeed, continue to deter herself and others from engaging in

 criminal activity.

       Dana’s story is one of enormous struggles, defeats, survival

 and   redemption!   She   respectfully    suggests   that   the   statutory

 sentencing factors applied in her case supports a non-custodial

 sentence. Specifically, Dana’s unique history and characteristics,

 and medical conditions,9 and conduct while on pretrial release

 favor a sentence of supervision. While on pretrial release, Dana

 has recognized her grave mistakes and their rippling effects on

 her life. She has created a stable foundation for herself and her

 loved ones to the best of her ability. A sentence of incarceration




 9
  .  The medical records, Exhibit A, show that Dana suffers from many
 serious health problems. We submitted, under seal, a copy of her medical
 record and medication list. The Court, in its discretion can vary on
 this basis. See United States v. Almenas, 553 F.3d 27 (1st Cir. 2009)
 (affirming downward variance of 43 months below the bottom of the
 guideline range based on defendant’s combination of physical and mental
 disabilities). See also United States v. Meyers, 503 F.3d 676 (8th Cir.
 2007) (“district court did not abuse its discretion in finding that a
 shorter period of incarceration, with mental health treatment and
 supervised release, is the most effective sentence”).




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 would needlessly create cracks in this foundation, breaking apart

 her support system and imperiling her success. Instead, Dana

 requests a sentence that builds upon her efforts and strengths,

 the very foundation she has worked so hard to build during the

 past three years.

       As it is now generally accepted, the sentencing judge should

 “consider every convicted person as an individual and every case

 as a unique study in the human failings that sometimes mitigate,

 sometimes magnify, the crime and the punishment to ensue.” Gall v.

 United States, 128 S. Ct. 586, 598 (2007), quoting Koon v. United

 States, 518 U.S. 81, 113 (1996).

      Federal Judges are no longer bound by a rigid application of

 the guidelines. They can exercise discretion and consider the

 characteristics of the defendant. See generally, United States v.

 Andrews, 447 F.3d 806 (10th Cir. 2006) (“while the guidelines

 discourage    consideration     of    certain     factors     for   downward

 departures, Booker frees courts to consider those factors as part

 of their analysis under § 3553(a)”)

       In United States v. Whitaker, 152 F.3d 1238 (10th Cir. 1998),

 the 10th Circuit remanded due to error in a case where “the

 district court found that it lacked the authority to consider this

 factor   [post-offense    rehabilitation]    as   a   basis   for   downward

 departure, based on our holding in United States v. Ziegler, 39

 F.3d 1058, 1061 (10th Cir. 1994).... However, after this court



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 decided Ziegler, the Supreme Court held in Koon v. United States

 that any potential basis for a downward departure not specifically

 prohibited by the Sentencing Commission may be considered by a

 district court.“

       Here, again, we must respectfully underline Dana’s efforts at

 rehabilitation and positive changes since her pretrial release.

 Several cases support a court’s power to grant a downward departure

 for post offense rehabilitation. See United States v. Rodriguez,

 724 F. Supp. 1118, 1119 (S.D. N.Y. 1989) where the Court reasoned

 that it “would consider it senseless, destructive and contrary to

 the objectives of the criminal law to now impose a year’s jail

 term on this defendant. In my view, the reasons for such a term

 are feeble and are clearly outweighed by the reasons favoring a

 non-jail sentence. The rehabilitation of a drug addict by his act

 of will is no mean accomplishment. Because of it, his children and

 wife have recovered their father, husband and provider, and society

 has regained a productive citizen. It appears society has nothing

 to fear from him, as it seems most unlikely he will now throw away

 his rehabilitation and return to drugs. The imposition of a year’s

 jail sentence would serve no end, but ritualistic punishment with

 a high potential for destruction. Indeed, putting the defendant in

 jail for a year would be the cause most likely to undo his

 rehabilitation.”     See also United States v. Autrey, 555 F.3d 864

 (9th Cir. 2009)(district court’s finding that man convicted of one



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 count of child porn possession would not be adequately accommodated

 in prison and would be better served by outpatient psychiatric

 treatment          supported           reasonableness          of   imposing   five   years

 probation rather than a guideline term of 41-51 months); Also see

 United States v. Jones, 158 F.3d 492 (10th Cir. 1998)(the district

 court did not abuse its discretion in departing downward based on

 defendant’s post-offense rehabilitation evidenced by his regular

 work counseling in support of his children).



                                                CONCLUSION

          To conclude, it would be incomplete not to verbatim quote the

 following colloquy between Magistrate Judge Dustin Pead and Dana

 at her change of plea hearing: on December 18, 2023.10

                  THE COURT: But more impressively, Ms. Steele, I’ve read
          a little bit about some of the challenges that you’ve had in
          your life, the death of your father, some health challenges,
          and you maintained sobriety through it all.

                  DEFENDANT STEELE: I did. My brother passed away as well.

                  THE COURT: I’m sorry. And, you know, to be under a
          federal indictment and for things to happen with prio concerns
          relating to drug use, this is something to be proud of. I
          know it’; not easy to come to federal court and plead guilty
          to a felony. But I don’t think dark moments are monuments in
          our lives. They don’t have to be. So credit to you for what
          you have done in the interim.



 10
      .   Transcript of Change of Plea Hearing. Attachment C.


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             And my guess is your success has given rise to an
       agreement that pulled the minimum mandatory off the table. So
       I’m more interested in resiliency than perfection. It’s just
       my opinion. And I’m impressed by what you have done on     your
       time in pretrial release.

             DEFENDANT STEELE: Of course.

             THE COURT: There’s practical consequences if you fail,
       custody, the whole nine yards. But most importantly, you will
       have compromised yourself, all the hard work you’ve already
       put in.

             DEFENDANT STEELE:     Exactly. My life has changed, like
       100 percent, so . . .

             THE COURT:   It’s strange how an indictment in federal
       court can be this paradoxical blessing sometimes - -

             DEFENDANT: Exactly.

             THE COURT: - - in people’s lives. But we all need reset
       buttons in our life. And we’re not immune from them, either.
       SO credit to you for taking advantage of the resent button
       and doing so good.

             DEFENDANT STEELE: Thank you very much.


 Change of Plea Transcript, at pp 20-21.

       Dana respectfully asks this Court for a chance to prove

 herself. She asks this Court to vary from the guidelines and impose

 a non-custodial sentence with supervised release. Dana presents

 here today with humility and pride because she is sober and

 thriving for the first time in her life. Given her significant



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 history of drug and alcohol abuse, she takes great pride in this

 accomplishment. Dana refuses to let her history become her destiny.

       RESPECTFULLY SUBMITTED this 4th Day of August, 2024.



                        /s/Bel-Ami de Montreux
                        Bel-Ami de Montreux
                        Attorney for Defendant


                          CERTIFICATE OF SERVICE


       I hereby certify that on August 4, 2024, I filed a true and

 correct copy of the foregoing via CM/ECF, giving notice to the

 following:


 Nathan D. Lyon, Esq.
 United States Attorney’s Office
 111 South Main Street, Suite 1800
 Salt Lake City, Utah 84111



       /s/Bel-Ami de Montreux
        Bel-Ami de Montreux
        Attorney for Defendant




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